

People v Feliciano (2023 NY Slip Op 06451)





People v Feliciano


2023 NY Slip Op 06451


Decided on December 14, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2023

Before: Manzanet-Daniels, J.P., Oing, Moulton, Shulman, Rosado, JJ. 


SCI No. 387/21 Appeal No. 1236 Case No. 2021-02303 

[*1]The People of The State of New York, Respondent, 
vJoshua Feliciano, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Danielle A. Bernstein of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Kate A. Triffon of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Jeffrey Rosenblueth, J.), rendered June 17, 2021,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 14, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








